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                                                                                                                  PAGE: 1
     Michael Hollerich                                                                                          02/01/2016
     4426 Laren Lane                                                                                CLIENT NO: 34653-001M
     Dallas TX 75244                                                                            STATEMENT NO:      737847




     Hollerich v. Acri


                                                             FEES

                                                                                                         HOURS
01/04/2016   MLM Review documents regarding subpoenas/draft list of tasks; Send
                 correspondence to M. Hollerich regarding subpoenas.                                       0.50

01/05/2016   MLM Telephone call with M. Hollerich regarding subpoenas; Prepare petition for
                 fees.                                                                                         NO CHARGE

01/06/2016   MLM Telephone call with R. Hirsch regarding documents from Desouza; send
                 correspondence to R. Hirsch regarding documents; correspondence to D.
                 Miller regarding discovery responses.                                                     0.70

             JPK    Conference with M. Mathias regarding case and subpoenas to financial
                    institutions; review pleadings in preparation for drafting discovery.                  0.75NO CHARGE

01/07/2016   MLM Draft rule 37 letter; draft petition for attorneys fees.                                  1.00NO CHARGE

01/11/2016   MLM Review discovery requests received from Disonza.                                          0.50

01/12/2016   MLM Send correspondence to client with a plan for discovery and subpoenas;
                 review interrogatories.                                                                   0.50

01/13/2016   MLM Telephone call with M. Hollerich regarding next steps (N/C); Follow up email
                 regarding default judgment; Draft Notices of Deposition for J. DeSouza
                 deposition; draft rule 37 Letter; Draft Motion for Default Judgement vs. Acri.            2.00

             EJM Review materials; prepare subpoenas and notice of depositions                             1.00

             JPK    Draft three subpoenas to financial institutions in effort to trace investment
                    payments; conference with M. Mathias regarding same.                                   1.75

01/14/2016   MLM Revise notices of deposition and subpoenas to William Hayes and Clayton
                 Lawrie; send subpoenas to Chase and American.                                             1.50

             EJM Draft subpoenas and notices of deposition; draft rule 37 letter; review
                 pleadings                                                                                 1.70

01/18/2016   MLM Review notices of deposition; review subpoenas; draft correspondence to
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                                                                                                            PAGE: 2
     Michael Hollerich                                                                                    02/01/2016
                                                                                              CLIENT NO: 34653-001M
                                                                                          STATEMENT NO:      737847
     Hollerich v. Acri


                                                                                                   HOURS
                    client regarding update.                                                         1.00NO CHARGE

             EJM Review discovery responses; draft rider for subpoena requests; research
                 address for subpoena respondents                                                    2.10NO CHARGE

01/19/2016   MLM Review subpoenas and dates; follow up with counsel regarding documents.             0.30NO CHARGE

01/21/2016   MLM Evaluate lack of response by Kenilworth; revise Declaration of M. Mathias.          1.00NO CHARGE

01/22/2016   MLM Review and sign Rule 32 letters to DeSouza and Kenilworth regarding
                 insufficient and failure to require discovery.                                      0.50

             EJM Draft Rule 37 Letter to KAM.                                                        0.60

01/28/2016   MLM Exchange correspondence with Kenilworth's counsel regarding discovery
                 issues; Telephone call with Bank's counsel regarding same.                          0.30NO CHARGE

             EJM Correspondence with opposing counsel regarding upcoming depositions;
                 conference with opposing counsel regarding the same                                 0.40
                                                                                                    11.65    3,912.00

                                                         COSTS

01/25/2016          Stern Process & Investigation, LLC- Service                                                55.00
01/26/2016          Stern Process & Investigation, LLC- Service of subpoena to Clayton Lawrie                  55.00
                                                                                                              110.00

                    TOTAL FEES & COSTS                                                                       4,022.00


                    PLEASE REMIT                                                                            $4,022.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                               PAGE: 1
     Michael Hollerich                                                                                       03/01/2016
     4426 Laren Lane                                                                             CLIENT NO: 34653-001M
     Dallas TX 75244                                                                         STATEMENT NO:      738364




     Hollerich v. Acri


                                                          FEES

                                                                                                      HOURS
02/01/2016   MLM Review documents from Kenilworth; exchange correspondence with client
                 regarding deposition strategy.                                                         0.50

             EJM Correspondence with opposing counsel regarding production of documents.                0.20

02/02/2016   MLM Evaluate strategy for depositions and default judgment; exchange
                 correspondence with R. Hirsch; correspondence to client with strategy
                 questions.                                                                             0.50

             EJM Review pleadings and discovery documents; correspondence with opposing
                 counsel regarding discovery disputes                                                   1.60

02/03/2016   MLM Draft responses to DeSouza interrogatories; Prepare motion for default
                 judgment.                                                                              1.00

             EJM Review documents produced by KAM.                                                      1.60

02/04/2016   EJM Conference with opposing counsel regarding discovery responses; review
                 documents produced by KAM                                                              1.10

02/05/2016   MLM Confer with E. Malnar regarding discovery and possible judgment vs.
                 Kenilworth; exchange correspondence with client; follow-up on Desouza
                 affidavit; draft responses to interrogatories.                                         1.50

             EJM Court appearance regarding status on discovery.                                        1.00

02/10/2016   MLM Telephone call with L. Hollerich. Exchange correspondence with R. Hirsch
                 re: motion to withdraw (N/C).                                                          0.50NO CHARGE

02/17/2016   MLM Evaluate case strategy and identify issues per client request. (.5 - N/C)              0.50NO CHARGE

02/18/2016   MLM Exchange correspondence with L. Hollerich regarding case status and next
                 steps; send client requested information (.5 - N/C).                                   0.50NO CHARGE

02/19/2016   MLM Review redacted invoices; draft notice of motion; revise declaration; finalize
                 and file motion and supporting documents send update to client.                        0.30
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                                                                                                            PAGE: 2
     Michael Hollerich                                                                                    03/01/2016
                                                                                              CLIENT NO: 34653-001M
                                                                                          STATEMENT NO:      738364
     Hollerich v. Acri


                                                                                                   HOURS

02/24/2016   MLM Send update to client regarding fees issue, Desouza's counsel and
                 discovery issues.                                                                    0.30

             MJL    Prepared for/appeared in Court regarding Motion for Attorneys' Fees               1.30

02/26/2016   MLM Telephone call with with Chase bank regarding subpoena response;
                 correspondence to counsel for Desouza regarding interrogatory response;
                 correspondence to counsel for KAM regarding Clayton dep.                             0.30

02/29/2016   EJM Correspondence with client and opposing counsel regarding discovery and
                 depositions; review draft answers to discovery                                       0.50
                                                                                                     11.70    3,803.00

                    PREVIOUS UNPAID BALANCE                                                                  $4,022.00

                    TOTAL FEES & COSTS                                                                        3,803.00


                    Courtesy Discount                                                                        -2,000.00

                    PLEASE REMIT                                                                             $5,825.00

                                                 PAST DUE AMOUNTS
                             0-30       31-60        61-90     91-120              121-180         181+
                         4,022.00        0.00         0.00       0.00                 0.00          0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                               PAGE: 1
     Michael Hollerich                                                                                       04/01/2016
     4426 Laren Lane                                                                             CLIENT NO: 34653-001M
     Dallas TX 75244                                                                         STATEMENT NO:      738914




     Hollerich v. Acri


                                                         FEES

                                                                                                      HOURS
03/11/2016   MLM Exchange correspondence with L. Hollerich regarding depositions. (0.2 -
                 N/C)                                                                                   0.20

03/14/2016   MLM Draft re-notice of deposition and file; exchange correspondence with client
                 regarding deposition schedule. (0.5 - N/C)                                             0.50

03/21/2016   MLM Prepare for deposition this week; evaluate discovery issues (discovery
                 closes April 4). (2.0 - N/C)                                                           2.00

03/23/2016   MLM Prepare for deposition of C. Lawrie tomorrow; draft outline; review
                 deposition notices for Laura and Michael; review rule 37 letter regarding
                 Desouza interrogatory issue; review 500 pages of documents.                            2.50NO CHARGE

03/24/2016   MLM Exchange correspondence with D. Miller regarding rescheduling deposition
                 (N/C); review motion filed by Desouza to extend discovery; review
                 correspondence from Desouza regarding responses to her interrogatories
                 and deposition dates for Hollerich.                                                    0.50NO CHARGE

03/28/2016   MLM Exchange correspondence with L. Hollerich regarding conference call and
                 deposition scheduling; review interrogatory draft response; review motion
                 filed by Hirsch and correspondence regarding status of new Desouza
                 documents.                                                                             0.75NO CHARGE

03/30/2016   MLM Exchange emails with L. Hollerich regarding depositions and next steps;
                 telephone call with L. Hollerich regarding same. (0.3 - N/C)                           0.30

03/31/2016   MLM Exchange correspondence with attorneys regarding deposition scheduling;
                 review interrogatory responses; telephone call with L. Hollerich regarding
                 next steps. (0.5 - N/C)                                                                0.50

             JPK    Review pleadings and production documents; conference with M. Mathias
                    regarding depositions and discovery.                                                2.75
                                                                                                        6.25     935.00

                    PREVIOUS UNPAID BALANCE                                                                    $5,825.00
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                                                                                             PAGE: 2
     Michael Hollerich                                                                     04/01/2016
                                                                               CLIENT NO: 34653-001M
                                                                           STATEMENT NO:      738914
     Hollerich v. Acri


                    TOTAL FEES & COSTS                                                         935.00

                                                 PAYMENTS

03/21/2016          Payment on account                                                       -4,022.00


                    PLEASE REMIT                                                            $2,738.00

                                              PAST DUE AMOUNTS
                         0-30         31-60       61-90     91-120   121-180        181+
                         0.00      1,803.00        0.00       0.00      0.00         0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                             PAGE: 1
     Michael Hollerich                                                                                     05/02/2016
     4426 Laren Lane                                                                           CLIENT NO: 34653-001M
     Dallas TX 75244                                                                       STATEMENT NO:      739982




     Hollerich v. Acri


                                                          FEES

                                                                                                    HOURS
04/04/2016   MLM Attend court status regarding close of discovery; send update to client;
                 exchange correspondence with D. Miller regarding scheduling depositions
                 in April and May; follow up on Acri's criminal case.                                 1.00

04/05/2016   MLM Telephone call with S. Dorger (Acri attorney - criminal case); draft
                 subpoena to Attorney General; correspondence to L. Hollerich regarding
                 update (N/C); conference with JPK regarding background (N/C); review
                 criminal docket.                                                                     0.75

04/07/2016   MLM Telephone call with E. Snow (investigator) regarding Acri and other
                 documents.                                                                           0.50

04/11/2016   MLM Send correspondence to attorneys regarding deposition scheduling in May;
                 correspondence to S. Dorger (AG) regarding meeting this week.                        0.20

04/12/2016   MLM Exchange correspondence to AG's office regarding meeting (0.2 - N/C);
                 correspondence to R. Hirsch regarding documents from Desouza; send
                 update to client; prepare for meeting.                                               0.50

04/13/2016   MLM Meeting with E. Snow and S. Dorger regarding Attorney General's case
                 against Acri; send update to client.                                                 1.00

04/18/2016   JPK    Review correspondence related to deposition scheduling; review
                    documents in preparation for drafting discovery responses and taking
                    depositions.                                                                      1.75

04/20/2016   JPK    Correspondence regarding scheduling depositions.                                  0.25

04/28/2016   JPK    Review correspondence from opposing counsel; correspond with opposing
                    counsel regarding discovery dates; conference with M. Mathias regarding
                    same.                                                                             0.50NO CHARGE

             JPK    Draft discovery responses.                                                        2.25

04/29/2016   JPK    Telephone conference with opposing counsel regarding depositions and
                    discovery responses.                                                              0.50
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                                                                                                          PAGE: 2
     Michael Hollerich                                                                                  05/02/2016
                                                                                            CLIENT NO: 34653-001M
                                                                                        STATEMENT NO:      739982
     Hollerich v. Acri


                                                                                                 HOURS

05/13/2016   JPK    Correspondence with opposing counsel regarding motion to extend
                    discovery, payment of sanction award, depositions, production of
                    documents and settlement; multiple telephone conferences with opposing
                    counsel regarding same; review draft motion to extend discovery;
                    conference with M. Mathias regarding claims and subpoena.                      2.50
                                                                                                  11.20    3,847.50

                                                        COSTS

03/01/2016          JPMorganChase- Subpoena Review                                                          116.36
                                                                                                            116.36

                    PREVIOUS UNPAID BALANCE                                                               $2,738.00

                    TOTAL FEES & COSTS                                                                     3,963.86

                                                     PAYMENTS

05/03/2016          Payment on account                                                                    -2,738.00


                    PLEASE REMIT                                                                          $3,963.86




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                                 PAGE: 1
     Michael Hollerich                                                                                         07/01/2016
     4426 Laren Lane                                                                               CLIENT NO: 34653-001M
     Dallas TX 75244                                                                           STATEMENT NO:      741383




     Hollerich v. Acri


                                                            FEES

                                                                                                        HOURS
05/06/2016   JPK    Correspondence and conference calls with opposing counsel regarding
                    discovery disputes and depositions; review documents in preparation for
                    depositions.                                                                          2.50

05/09/2016   MLM Telephone call with L. Hollerich regarding preparation for her deposition
                 tomorrow; conference with and process regarding depositions tomorrow;
                 review correspondence regarding same; draft subpoena to Attorney
                 General's office.                                                                        1.00

             JPK    Prepare for depositions of C. Lawrie (1.75) and L. Hollerich (1.75); finalize
                    discovery responses (.75); correspondence regarding same (.25).                       4.50

05/10/2016   MLM Confer with JPK regarding additional issues for inquiry in depositions;
                 meeting with L. Hollerich regarding depositions (0.75 - N/C).                            0.75NO CHARGE

             JPK    Attendance at and preparation for depositions of C. Lawrie (4.25) and L.
                    Hollerich (3.5); conference with M. Mathias regarding depositions (.75).              8.50

05/12/2016   MLM Draft subpoena to Attorney General's office regarding financial records.                 0.40NO CHARGE

05/13/2016   MLM Revise rider to Agreement subpoena; draft notice of issuance of subpoena
                 and serve on opposing counsel; send subpoena to AG's office; review
                 motion for extension filed by DeSouza.                                                   1.00

05/16/2016   JPK    Review Rule 37 discovery dispute letter provided by opposing counsel;
                    correspondence regarding same.                                                        0.75

05/17/2016   MLM Telephone call with E. Snow regarding status of AG's response to
                 subpoena.                                                                                0.20

             JPK    Telephone conference with client regarding status and strategy; conference
                    call with counsel for KAM regarding settlement and sanction; conference
                    with M. Mathias regarding status and strategy.                                        1.25

05/19/2016   MLM Prepare for court; attend court status; send update to client; follow up with
                 E. Snow regarding response to subpoena.                                                  1.25
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                                                                                                               PAGE: 2
     Michael Hollerich                                                                                       07/01/2016
                                                                                                 CLIENT NO: 34653-001M
                                                                                             STATEMENT NO:      741383
     Hollerich v. Acri


                                                                                                      HOURS

             JPK    Review prior discovery disclosures, schedules and related motions.                  1.25NO CHARGE

05/24/2016   MLM Telephone call with E. Snow regarding documents responsive to
                 Agreement subpoena.                                                                    0.30NO CHARGE

             JPK    Research regarding remedies for failure to pay sanction.                            0.75NO CHARGE

05/25/2016   JPK    Review documents provided by Illinois Attorney General in response to
                    subpoena.                                                                           2.50

05/27/2016   JPK    Review correspondence from counsel for KAM regarding inability to pay
                    sanction, including tax returns and related financial documents;
                    correspondence regarding same; research regarding relief available for
                    failure to pay sanction.                                                            1.50NO CHARGE

06/01/2016   JPK    Conference with M. Mathias regarding hearing.                                       0.25NO CHARGE

06/02/2016   JPK    Telephone conference with opposing counsel regarding outstanding
                    discovery issues.                                                                   0.75

06/15/2016   JPK    Telephone conference with opposing counsel regarding depositions,
                    discovery disputes and possible settlement.                                         0.75

06/27/2016   JPK    Draft amended discovery responses.                                                  2.80

06/29/2016   JPK    Correspondence and conference calls with counsel for DeSouza regarding
                    discovery disputes and settlement documents.                                        0.75NO CHARGE

06/30/2016   JPK    Review correspondence and additional documents produced by DeSouza
                    concerning settlement and discovery.                                                1.25
                                                                                                       29.00    9,894.50

                                                          COSTS

05/19/2016          Bridges Court Reporting- Deposition                                                          337.50
                                                                                                                 337.50

                    PREVIOUS UNPAID BALANCE                                                                    $3,963.86

                    TOTAL FEES & COSTS                                                                         10,232.00
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                                                                                        PAGE: 3
Michael Hollerich                                                                     07/01/2016
                                                                          CLIENT NO: 34653-001M
                                                                      STATEMENT NO:      741383
Hollerich v. Acri


               PLEASE REMIT                                                            $14,195.86

                                         PAST DUE AMOUNTS
                    0-30         31-60       61-90     91-120   121-180        181+
                    0.00      3,963.86        0.00       0.00      0.00         0.00




               PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                               PAGE: 1
     Michael Hollerich                                                                                       09/27/2016
     4426 Laren Lane                                                                             CLIENT NO: 34653-001M
     Dallas TX 75244                                                                         STATEMENT NO:      742782




     Hollerich v. Acri


                                                           FEES

                                                                                                      HOURS
07/01/2016   JPK    Review J. DeSouza settlement offer; correspondence regarding same;
                    negotiate settlement with opposing counsel.                                         1.25

07/06/2016   JPK    Telephone conference with opposing counsel (multiple) regarding
                    outstanding discovery issues and settlement; review motion for extension.           1.75

07/07/2016   JPK    Review additional documents supplied by opposing counsel.                           1.50

07/08/2016   JPK    Draft revised discovery responses; telephone conference with R. Hirsch
                    regarding merits of claim, discovery and settlement.                                4.50

07/11/2016   JPK    Telephone conference with opposing counsel and client (multiple) and
                    related correspondence to negotiate settlement.                                     1.50

07/12/2016   MLM Multiple conferences with JPK regarding settlement status, depositions and
                 strategy.                                                                              0.50NO CHARGE

07/14/2016   JPK    Conference regarding status hearing; review correspondence from
                    opposing counsel regarding settlement.                                              0.75

             MLM Attend court status hearing.                                                           0.50

07/29/2016   JPK    Draft settlement agreement.                                                         2.50

08/16/2016   JPK    Revise settlement agreement; conference call with opposing counsel
                    regarding same.                                                                     1.25NO CHARGE

08/26/2016   JPK    Draft and research motion for additional sanctions; continued negotiation
                    and revision of settlement agreement.                                               1.50

08/29/2016   JPK    Negotiate settlement agreement with opposing counsel; revise same.                  1.50NO CHARGE

08/30/2016   JPK    Telephone conferences and correspondence with opposing counsel
                    negotiating settlement agreement.                                                   0.75

08/31/2016   JPK    Attendance at status hearing; conference with opposing counsel regarding
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                                                                                                 PAGE: 2
     Michael Hollerich                                                                         09/27/2016
                                                                                   CLIENT NO: 34653-001M
                                                                               STATEMENT NO:      742782
     Hollerich v. Acri


                                                                                        HOURS
                    sanctions motion and settlement.                                      1.20
                                                                                          17.70     6,023.00

                                                          COSTS

07/05/2016          Federal Express to Richard L Hirsch                                                11.50
                                                                                                       11.50

                    PREVIOUS UNPAID BALANCE                                                       $14,195.86

                    TOTAL FEES & COSTS                                                              6,034.50


                    PLEASE REMIT                                                                  $20,230.36

                                                 PAST DUE AMOUNTS
                         0-30          31-60          61-90    91-120   121-180         181+
                         0.00           0.00      10,232.00      0.00   3,963.86         0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                            PAGE: 1
     Michael Hollerich                                                                                    10/19/2016
     4426 Laren Lane                                                                          CLIENT NO: 34653-001M
     Dallas TX 75244                                                                      STATEMENT NO:      743456




     Hollerich v. Acri


                                                         FEES

                                                                                                   HOURS
09/06/2016   JPK    Correspondence and conference calls with opposing counsel regarding
                    settlement agreement terms.                                                       0.50

09/15/2016   JPK    Review KAM response to motion for sanctions.                                      0.75

09/21/2016   JPK    Correspondence regarding executed settlement agreement; review and
                    revise stipulation to dismiss.                                                    0.25

             JPK    Finalize settlement agreement; correspondence with opposing counsel
                    regarding same; conference call with opposing counsel regarding
                    stipulation.                                                                      0.75

09/22/2016   JPK    Attendance at status hearing; conference with M. Mathias regarding same.          1.20

09/27/2016   JPK    Correspondence with opposing counsel regarding dismissal order and
                    settlement payment.                                                               0.20
                                                                                                      3.65     1,241.00

                    PREVIOUS UNPAID BALANCE                                                                  $20,230.36

                    TOTAL FEES & COSTS                                                                         1,241.00

                                                      PAYMENTS

10/19/2016          Payment on account                                                                        -3,710.00


                    PLEASE REMIT                                                                             $17,761.36

                                                 PAST DUE AMOUNTS
                             0-30      31-60         61-90      91-120            121-180          181+
                         6,023.00       0.00          0.00    9,894.50             602.86           0.00
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     Michael Hollerich                                                                  10/19/2016
                                                                            CLIENT NO: 34653-001M
                                                                        STATEMENT NO:      743456
     Hollerich v. Acri


                                            CLIENT FUNDS

                    BEGINNING CLIENT FUNDS BALANCE                                            $0.00
09/12/2016          Deposit of client funds check                                          3,710.00
10/19/2016          Payment on account                                                    -3,710.00
                    ENDING CLIENT FUNDS BALANCE                                              $0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                          PAGE: 1
     Michael Hollerich                                                                                  12/01/2016
     4426 Laren Lane                                                                        CLIENT NO: 34653-001M
     Dallas TX 75244                                                                    STATEMENT NO:      744934




     Hollerich v. Acri


                                                      FEES

                                                                                                 HOURS
11/03/2016   MLM Review order regarding summary judgment; outline summary judgment.                0.50

11/14/2016   MLM Outline and draft motion for summary judgment; outline memorandum in
                 support of summary judgment.                                                      1.00

11/30/2016   MLM Outline motion for summary judgment and elements.                                 0.50
                                                                                                   2.00      700.00

                    PREVIOUS BALANCE BEFORE ADJUSTMENTS                                                   $17,761.36

11/17/2016          Write Off per                                                                              -9.00
11/17/2016          Write Off per                                                                          -1,241.00

                    PREVIOUS UNPAID BALANCE                                                               $16,511.36

                    TOTAL FEES & COSTS                                                                       700.00

                                                   PAYMENTS

10/28/2016          Payment on account                                                                    -16,511.36


                    PLEASE REMIT                                                                            $700.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                               PAGE: 1
     Michael Hollerich                                                                                       01/03/2017
     4426 Laren Lane                                                                             CLIENT NO: 34653-001M
     Dallas TX 75244                                                                         STATEMENT NO:      745582




     Hollerich v. Acri


                                                           FEES

                                                                                                      HOURS
12/05/2016   ARS Research in preparation to draft Summary Judgment.                                     1.40

             MJL    Drafted Motion for Summary Judgment, conducted research on elements of
                    claims and Federal Court Summary Judgment authority on procedural
                    issues                                                                              2.50

             MLM Draft memorandum in support of summary judgment; review answer filed by
                 Acri and Desouza for admitted allegations.                                             1.00

12/06/2016   MJL    Cont'd research regarding elements of statutory claims in support of motion
                    for summary judgment                                                                3.70

12/07/2016   MJL    Cont'd review of pleadings, issues, research and drafting motion for
                    summary judgment                                                                    0.40

12/08/2016   MJL    Cont'd drafting Memo in support of Motion for Summary Judgment                      1.00

             MLM Draft statement of uncontested facts; review deposition of Clayton Laurie;
                 exchange correspondence with judge's clerk regarding extension; send
                 Lawrie deposition to client; identify pages to use of transcript (2.0 - N/C).          2.00

12/09/2016   MJL    Cont'd drafting Memo in support of Motion for Summary judgment, drafted
                    affidavit of Laura Hollerich                                                        3.90

             MLM Draft statement of undisputed facts; draft affidavit of Michael Hollerich; draft
                 affidavit of Laura Hollerich (3.0 - N/C).                                              2.00

12/12/2016   MLM Draft affidavit of Megan Mathias; revise motion, memorandum and other
                 documents for filing; exchange correspondence with L. Hollerich regarding
                 documents to be filed.                                                                 3.00
                                                                                                       20.90   6,645.00

                    PREVIOUS UNPAID BALANCE                                                                     $700.00

                    TOTAL FEES & COSTS                                                                         6,645.00
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     Michael Hollerich                                                                  01/03/2017
                                                                            CLIENT NO: 34653-001M
                                                                        STATEMENT NO:      745582
     Hollerich v. Acri


                                             PAYMENTS

12/30/2016          Payment on account                                                     -700.00


                    PLEASE REMIT                                                         $6,645.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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Michael Hollerich                                                                   02/01/2017
4426 Laren Lane                                                         CLIENT NO: 34653-001M
Dallas TX 75244                                                     STATEMENT NO:      746162




Hollerich v. Acri


               PREVIOUS UNPAID BALANCE                                               $6,645.00


               PLEASE REMIT                                                          $6,645.00

                                       PAST DUE AMOUNTS
                        0-30   31-60       61-90     91-120   121-180        181+
                    6,645.00    0.00        0.00       0.00      0.00         0.00




               PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                            PAGE: 1
     Michael Hollerich                                                                                    03/01/2017
     4426 Laren Lane                                                                          CLIENT NO: 34653-001M
     Dallas TX 75244                                                                      STATEMENT NO:      746826




     Hollerich v. Acri


                                                          FEES

                                                                                                   HOURS
02/09/2017   MLM Send update to client; exchange correspondence with opposing counsel
                 regarding extension request (0.3 - N/C)                                              0.30NO CHARGE

02/27/2017   MLM Review order regarding briefing schedule; telephone call with judge's clerk
                 regarding reply brief (when defendant never responded).                              0.30

02/28/2017   MLM Draft reply to Judge Shah; send to client.                                           0.60
                                                                                                      0.90     324.00

                                                          COSTS

12/13/2016          Bridges Court Reporting- Deposition                                                       1,012.50
                                                                                                              1,012.50

                    PREVIOUS UNPAID BALANCE                                                                  $6,645.00

                    TOTAL FEES & COSTS                                                                        1,336.50


                    PLEASE REMIT                                                                             $7,981.50

                                                 PAST DUE AMOUNTS
                         0-30          31-60         61-90     91-120              121-180         181+
                         0.00       6,645.00          0.00       0.00                 0.00          0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                PAGE: 1
     Michael Hollerich                                                                        04/03/2017
     4426 Laren Lane                                                              CLIENT NO: 34653-001M
     Dallas TX 75244                                                          STATEMENT NO:      747526




     Hollerich v. Acri


                                                         FEES

                                                                                       HOURS
03/01/2017   MLM File reply in support of summary judgment.                              0.50

03/30/2017   MLM Revise 56.1 statement and file with the court with motion.              0.30
                                                                                         0.80     288.00

                    PREVIOUS UNPAID BALANCE                                                     $7,981.50

                    TOTAL FEES & COSTS                                                            288.00

                                                      PAYMENTS

03/27/2017          Payment on account                                                          -7,981.50


                    PLEASE REMIT                                                                 $288.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                           PAGE: 1
     Michael Hollerich                                                                                   05/01/2017
     4426 Laren Lane                                                                         CLIENT NO: 34653-001M
     Dallas TX 75244                                                                     STATEMENT NO:      748211




     Hollerich v. Acri


                                                         FEES

                                                                                                  HOURS
04/10/2017   MLM Review order granting summary judgment; exchange correspondence with
                 client regarding same.                                                              0.50

04/11/2017   MLM Review file regarding criminal case status; send documents to client.               0.30
                                                                                                     0.80    288.00

                    PREVIOUS UNPAID BALANCE                                                                 $288.00

                    TOTAL FEES & COSTS                                                                       288.00


                    PLEASE REMIT                                                                            $576.00

                                                PAST DUE AMOUNTS
                           0-30        31-60        61-90     91-120              121-180         181+
                         288.00         0.00         0.00       0.00                 0.00          0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                             PAGE: 1
     Michael Hollerich                                                                                     06/01/2017
     4426 Laren Lane                                                                           CLIENT NO: 34653-001M
     Dallas TX 75244                                                                       STATEMENT NO:      749047




     Hollerich v. Acri


                                                        FEES

                                                                                                    HOURS
05/05/2017   MLM Exchange messages with D. Miller regarding judgment and settlement
                 issues.                                                                              0.20

05/09/2017   MLM Exchange correspondence and calls with D. Miller regarding revisions to
                 judgment and payment to Hollerich.                                                   0.30

05/11/2017   MLM Exchange correspondence with D. Miller regarding Kenilworth's proposal for
                 payment now.                                                                         0.20

             MLM Trip to court regarding Kenilworth Motion.                                           0.50

05/17/2017   MLM Exchange correspondence with D. Miller regarding payment.                            0.30

05/31/2017   MLM Send and receive correspondence to D. Miller regarding status of
                 settlement.                                                                          0.20
                                                                                                      1.70     612.00

                    PREVIOUS UNPAID BALANCE                                                                   $576.00

                    TOTAL FEES & COSTS                                                                         612.00

                                                     PAYMENTS

05/16/2017          Payment on account                                                                        -288.00
06/06/2017          Payment on account                                                                        -288.00
                    TOTAL PAYMENTS                                                                            -576.00

                    PLEASE REMIT                                                                              $612.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                   PAGE: 1
     Michael Hollerich                                                                           07/03/2017
     4426 Laren Lane                                                                 CLIENT NO: 34653-001M
     Dallas TX 75244                                                             STATEMENT NO:      749673




     Hollerich v. Acri


                                                          FEES

                                                                                          HOURS
06/16/2017   MLM Exchange correspondence with L. Hollerich regading settlement
                 authorization.                                                             0.20

06/21/2017   MLM Review draft settlement agreement from D. Miller.                          0.50

06/23/2017   MLM Review proposed settlement agreement.                                      0.40

06/27/2017   MLM Calls from D. Miller; review settlement offer.                             0.30
                                                                                            1.40     504.00

                    PREVIOUS UNPAID BALANCE                                                         $612.00

                    TOTAL FEES & COSTS                                                               504.00

                                                       PAYMENTS

06/29/2017          Payment on account                                                              -612.00


                    PLEASE REMIT                                                                    $504.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                                           PAGE: 1
     Michael Hollerich                                                                                   08/01/2017
     4426 Laren Lane                                                                         CLIENT NO: 34653-001M
     Dallas TX 75244                                                                     STATEMENT NO:      750658




     Hollerich v. Acri


                                                        FEES

                                                                                                  HOURS
07/06/2017   MLM Review correspondence from J. DeSouza regarding request for extension
                 of time regarding payments; send to client (.3 - N/C).                              0.30

07/10/2017   MLM Call from D. Miller; exchange correspondence with D. Miller regarding
                 settlement terms; exchange correspondence with L. Hollerich regarding
                 final damage amount.                                                                0.30

07/11/2017   MLM Send correspondence to D. Miller regarding judgment amount; review
                 proposed settlement agreement.                                                      0.50

07/13/2017   MLM Exchange correspondence with D. Miller regarding settlement agreement;
                 revise agreement.                                                                   0.50

07/14/2017   MLM Exchange correspondence with D. Miller regarding structure of settlement
                 agreement (.3 - N/C)                                                                0.30NO CHARGE

07/18/2017   MLM Exchange correspondence with D. Miller regarding structure of settlement.           0.30
                                                                                                     1.90     684.00

                    PREVIOUS UNPAID BALANCE                                                                  $504.00

                    TOTAL FEES & COSTS                                                                        684.00


                    PLEASE REMIT                                                                            $1,188.00

                                                PAST DUE AMOUNTS
                           0-30       31-60         61-90     91-120             121-180          181+
                         504.00        0.00          0.00       0.00                0.00           0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
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                                                                                            PAGE: 1
     Michael Hollerich                                                                    09/01/2017
     4426 Laren Lane                                                          CLIENT NO: 34653-001M
     Dallas TX 75244                                                      STATEMENT NO:      750946




     Hollerich v. Acri


                    PREVIOUS UNPAID BALANCE                                                $1,188.00

                                                PAYMENTS

09/07/2017          Payment on account                                                       -504.00


                    PLEASE REMIT                                                             $684.00

                                             PAST DUE AMOUNTS
                         0-30        31-60       61-90     91-120   121-180        181+
                         0.00       684.00        0.00       0.00      0.00         0.00




                    PLEASE NOTE CLIENT AND STATEMENT NUMBER WITH PAYMENT.
